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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

NETLIST, INC.,

                       Plaintiff,
                                                     Civil Action No. 1:22-cv-00134-DII
v.
                                                     JURY TRIAL DEMANDED
MICRON TECHNOLOGY, INC., MICRON
SEMICONDUCTOR PRODUCTS, INC., and
MICRON TECHNOLOGY TEXAS LLC,

                       Defendants.


NETLIST, INC.,

                       Plaintiff,                    Civil Action No. 1:22-cv-00136-DII
v.                                                   JURY TRIAL DEMANDED
MICRON TECHNOLOGY, INC., MICRON
SEMICONDUCTOR PRODUCTS, INC., and
MICRON TECHNOLOGY TEXAS LLC,

                       Defendants.


                                     JOINT STATUS REPORT

          Pursuant to this Court’s Order dated October 5, 2022 (Dkt. 79), Plaintiff Netlist, Inc.

(“Plaintiff”) and Micron Technology, Inc., Micron Semiconductor Products, Inc., and Micron

Technology Texas LLC (collectively, “Defendants”) hereby submit the following joint status

report regarding pending inter partes review proceedings relating to the Patents-in-Suit:

     I.      U.S. PATENT NO. 9,824,035 (PTAB CASE NO. IPR2022-00236) (FINAL
             WRITTEN DECISION ISSUED)

             − On December 23, 2021, Defendants filed a Petition for Inter Partes Review of
                 U.S. Patent No. 9,824,035.
             − On July 19, 2022, the Board granted the Petition and trial was instituted.



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       − On October 11, 2022, Plaintiff submitted its Patent Owner’s Response.

       − On January 17, 2023, Defendants submitted their Reply to Patent Owner’s
         Response.

       − On February 28, 2023, Plaintiff submitted its Sur-Reply to Defendants Reply to
         Patent Owner’s Response.

       − On April 19, 2023, an Oral Argument for the proceeding commenced.

       − On June 20, 2023, the Board issued its Final Written Decision affirming validity
         of claims 2, 6, and 22, and finding claims 1, 10-13, and 21 invalid.

 II.   U.S. PATENT NO. 10,268,608 (PTAB CASE NO. IPR2022-00237)
       (NO CHANGE)

       − On December 23, 2021, Defendants filed a Petition for Inter Partes Review of
          U.S. Patent No. 10,268,608.
       − On July 19, 2022, the Board denied the Petition, and no trial was instituted.
       − On August 12, 2022, the Defendants filed a request for rehearing and on
          September 16, 2022, the Board denied the request.

III.   U.S. PATENT NO. 8,301,833 (PTAB CASE NO. IPR2022-00418)

       − On January 14, 2022, Defendants filed a Petition for Inter Partes Review of U.S.
          Patent No. 8,301,833.
       − On September 1, 2022, the Board granted the Petition and trial was instituted.
       − On November 25, 2023, Plaintiff submitted its Patent Owner’s Response.
       − On February 17, 2023, Defendants submitted their Reply to Patent Owner’s
          Response.
       − On March 31, 2023, Plaintiff submitted its Sur-Reply to Defendants Reply to
          Patent Owner’s Response.
       − On June 7, 2023, an Oral Argument for the proceeding commenced.

IV.    U.S. PATENT NO. 10,489,314 (PTAB CASE NOS. IPR2022-00744 AND
       IPR2022-00745)

       − On March 30, 2022, Defendants filed two Petitions for Inter Partes Review of
          U.S. Patent No. 10,489,314.


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− On November 1, 2022, the Board granted the Petitions and trial was instituted.

− On February 7, 2023, Plaintiff submitted its Patent Owner’s Response.
− On May 5, 2023, Defendants submitted their Reply to Patent Owner’s Response.
− On June 16, 2023, Plaintiff submitted its Sur-Reply to Defendants Reply to Patent
   Owner’s Response.




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Dated: June 30, 2023                            Respectfully Submitted,

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                                 Micron Semiconductor Products,
                                 Inc., and Micron Technology Texas,
                                 LLC




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                               CERTIFICATE OF SERVICE

       I hereby certify that counsel of record who are deemed to have consented to electronic

services are being served with a copy of this document via the Court’s CM/ECF system per

Local Rule CV-5(a) on this the 30th day of June, 2023.



                                            /s/ Ryan A. Hargrave
